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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
VINCENZO GURRERA and )
KIMBERLY GURRERA, )
)
Plaintiff, )
) No. 19-CV-06751
vs. ) Hon. Judge Virginia Kendall
)
UBER TECHNOLOGIES, INC., and _)
RASIER, LLC, and ENRIQUE )
RODARTE )
)
Defendants. )
)

PLAINTIFFS’ UNOPPOSED MOTION TO DISMISS DEFENDANTS UBER
TECHNOLOGIES, INC. AND RASIER LLC PURSUANT TO RULE 41 OF THE
FEDERAL RULES OF CIVIL PROCEDURE AND TO REMAND THE ACTION TO
THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

NOW COME Plaintiffs, Vincenzo Gurrera and Kimberly Gurrera, by and through their
attorneys, LEGALRIDESHARE, LLC, and for their Unopposed Motion to Dismiss Defendants Uber
Technologies, Inc. and Rasier, LLC Pursuant to Rule 41 of the Federal Rules of Civil Procedure
and Remand the Action to the Circuit Court of Cook County, Illinois, states as follows:

1) On September 5, 2019, Plaintiffs filed a civil lawsuit in the Circuit Court of Cook
County, Illinois against Defendants Uber Technologies, Inc., Raiser LLC and Enrique Rodarte,
based on bodily injuries sustained in a November 19, 2017 motor vehicle collision.

2) On October 11, 2019, Defendants Uber Technologies, Inc. and Raiser LLC filed a
Notice of Removal from the Circuit Court of Cook County, Illinois to the United States District
Court for the Northern District of Illinois, Eastern Division, pursuant to 28 U.S.C. §§ 1332,

1441, and 1446.
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3) Upon information and belief, Defendant Enrique Rodarte is a resident of Illinois
and has not yet been served, and has not filed an appearance and/or answer.

4) Under Rule 41 of the Federal Rules of Civil Procedure, an action may be
dismissed at the plaintiff's request by court order, on terms that the court considers proper.

5) Plaintiffs bring this motion pursuant to Rule 41 to dismiss Defendants Uber
Technologies, Inc. and Raiser LLC, without prejudice, with leave to refile within one (1) year of
the date of the dismissal, with each party to bear their own costs and attorneys’ fees incurred,
and with costs to be paid upon re-filing.

6) Upon agreement of Plaintiffs and Defendants Uber Technologies, Inc. and Raiser
LLC, the matter will be remanded to the Circuit Court of Cook County, Illinois.

7) The action will proceed against Defendant Enrique Rodarte in the Circuit Court of
Cook County, Illinois.

WHEREFORE Plaintiffs, Vincenzo Gurrera and Kimberly Gurrera, respectfully request
that the Court enter an order to:

a. Voluntary dismiss this action as to Defendants Uber Technologies, Inc. and
Raiser LLC, without prejudice, with leave to refile within one (1) year of the date
of the dismissal, with each party to bear their own costs and attorneys’ fees
incurred, and with costs to be paid upon re-filing.

b. Remand the action against Defendant Enrique Rodarte to the Circuit Court of
Cook County, Illinois.

Respectfully submitted,

LEGALRIDESHARE, LLC PETERSON, JOHNSON & MURRAY CHICAGO, LLC
By:/s/_ Bryant M. Greening By:/s/_ Kevin M. Casey

Bryant M. Greening (No. 6306065) Kevin M. Casey (No. 6282635)

LEGAL RIDESHARE PETERSON, JOHNSON & MURRAY CHICAGO, LLC
Attorneys for the Plaintiff Attorneys for Uber Technologies and Raiser, LLC
350 N. LaSalle Street, Suite 750 200 W. Adams Street, Suite 2125

Chicago, IL 60654 Chicago, IL 60606

(312) 670-9000 (Phone) (312) 724-8037 (Phone)

Dated: November 11, 2019
